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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                              No. CR-18-00422-PHX-SMB
 9
                    Plaintiff,
10                                                                     ORDER
             vs.
11
12   Michael Lacey, et al.,
13                          Defendants.
14
15          Pursuant to Federal Rule of Criminal Procedure 16(d)(1) and 26 U.S.C.
16   § 6103(i)(4)(A), the United States’ motion, no objection from Defendants, and good cause
17   appearing,
18          IT IS HEREBY ORDERED that the United States’ Motion for Limited Disclosure
19   of Tax Information and Motion for Protective Order is GRANTED.
20          IT IS FURTHER ORDERED that the United States may disclose to defense counsel
21   and Defendants return and return information obtained pursuant to 26 U.S.C. § 6103(i), in
22   accordance with its discovery obligations. For purposes of this Order, “return” and “return
23   information” shall be defined as set forth in 26 U.S.C. § 6103(b).
24          IT IS FURTHER ORDERED that:
25          1.     The United States may disclose to defense counsel, without redaction, the
26   private information and personally identifying information (collectively “PII”) to the extent
27   that PII is present in discoverable materials. PII includes addresses, telephone numbers,
28   dates of birth, and social security numbers. The United States may also disclose return and
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 1   return information (collectively “tax information”) pursuant to its discovery obligations.
 2          2.     Defense counsel may share materials containing tax information and PII with
 3   members of the defense team, including experts, investigators, and other professionals
 4   retained by defense counsel to assist in the preparation of the defense.
 5          3.     The defense team shall safeguard and shall not disclose the tax information
 6   and PII provided to them, other than to the extent necessary to prepare the defense.
 7          4.     Defense counsel may share materials containing tax information and PII with
 8   Defendants to the extent necessary to prepare the defense.
 9          5.     Defendants shall safeguard and shall not disclose the tax information and PII
10   provided to them (except for Defendants’ own tax documents and those of entities in which
11   they hold an interest).
12          6.      Defense counsel may review materials containing tax information and PII
13   with potential witnesses to the extent necessary to prepare the defense.
14          7.     Potential witnesses shall not be allowed to retain any materials containing
15   tax information or PII during the course of the litigation unless defense counsel ensures
16   that all tax information and PII has been redacted from the copies to be retained.
17          8.     The defense team, including Defendants, shall destroy, at the conclusion of
18   this matter, all tax information and PII in its possession, except that defense counsel shall
19   be allowed to retain materials containing tax information and PII until the time expires for
20   all appeals, collateral attacks, other writs or motions challenging the conviction or sentence,
21   and actions for professional malpractice, and Defendants shall be permitted to retain their
22   own tax information and the tax information of entities in which they hold an interest
23   without limitation.
24          IT IS FURTHER ORDERED that excludable delay under 18 U.S.C. § 3161(h)
25   ____________ will commence on ____________________________ for a total of
26   __________days.
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